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      5.     The filing of the aforesaid Petition operated as an automatic stay under Section
      362(a) of the Bankruptcy Code of proceedings by Movant to foreclose on the Mortgaged
      Premises. Movant requests relief from the automatic stay to continue with the filed
      mortgage foreclosure action, if any, and to take the necessary action to obtain the
      Mortgaged Premises.

      6.     Additional Respondent is the Standing Trustee appointed in this Chapter 13
      proceeding.

      7.     Debtor has claimed an exemption in the amount of $25,150.00 in the subject
      property.

      8.       Debtor entered into a Reverse Mortgage with Movant.

      9.       A default of the mortgage occurs if any of the below happens:

            a. Taxes and insurance are not being maintained;

            b. The borrower moves out of the property;

            c. The borrower passes away;

            d. If the borrower conveys the property to another individual;

            e. If the borrower doesn’t make necessary repair to the property

      10.      Debtor has failed to maintain taxes and insurance on the property.

      11.    Further, this is Debtor’s third bankruptcy case. The disposition of the case is as
      follows:

               (a) Debtor filed a Chapter 13 bankruptcy under case number 17-12803 on April
                   21, 2017 which was dismissed on August 7, 2018 for failure to make plan
                   payments;

               (b) Debtor filed a Chapter 13 bankruptcy under case number 18-17999 on
                   December 3, 2018; which was dismissed on January 7, 2020 for failure to
                   make plan payments.

               (c) Debtor filed this Chapter 13 bankruptcy on October 6, 2020


      12.     The numerous Bankruptcy Case filings have served to harass, delay and stall the
      state court foreclosure action proceedings of Movant.

      13.    Movant is seeking an in rem order for relief preventing Debtor from further
      delaying the foreclosure action.
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      14.    The Fair Market Value of the Mortgaged Premises is $147,231.00, as per
      Debtor’s Schedules. The approximate amount necessary to payoff the loan is
      $148,383.93 good through October 31, 2020. The breakdown of the payoff is as follows:

          Principal Balance                                                              $128,195.40
          Accrued Interest                                                                   $358.98
          Escrow Advances made by Plaintiff                                               $16,256.36
          Accured MIP                                                                        $52.69
          Service Fee                                                                        $35.00
          Outstanding Advances                                                            $3,485.50

      15.     Movant's interests are being immediately and irreparably harmed. Movant is
      entitled to relief, from the automatic stay, pursuant to either 11 U.S.C. § 362 (d)(1) or
      (d)(2), because of the foregoing default and because:

             a)      Movant lacks adequate protection for its interests in the Mortgaged
                     Premises;

             b)      Debtor does not have any equity in the Mortgaged Premises; and

             c)      The Mortgaged Premises are not necessary to an effective reorganization
                     or plan.

      16.   Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
      immediately implement and enforce the Court’s order.

      17.     Attached are redacted copies of any documents that support the claim, such as
      promissory notes, purchase order, invoices, itemized statements of running accounts,
      contracts, judgments, mortgages, and security agreements in support of right to seek a lift
      of the automatic stay and foreclose if necessary.
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         WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights
with respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
preparation and presentation of this motion, and (iii) granting all such other and further relief as
the Court deems appropriate and necessary.




                                                      Respectfully submitted,


                                                              /s/ Kristen D. Little
Dated: November 4, 2020                               BY:
                                                      Kristen D. Little, Esquire
                                                      Shapiro & DeNardo, LLC
                                                      3600 Horizon Drive, Suite 150
                                                      King of Prussia, PA 19406
                                                      (610) 278-6800/ fax (847) 954-4809
S&D File #:20-065617                                  PA BAR ID #79992
                                                      klittle@logs.com
                                                      pabk@logs.com
